Case 1:19-cv-04650-AJN-SN Document 97 Filed 01/14/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAFAEL FOX, PAUL D’AURIA and JILL

 

SHWINER,
Plaintiffs, Case No. 19-CV-4650 (AJN)
-against-
ARB CL TION OF EL KELL
ee IN SUPPORT OF DEFENDANT’S

 

STARBUCKS COFFEE COMPANY, MOTION FOR SUMMARY

Defendant. JUDGMENT

 

RACHEL KELLY, does hereby swear, affirm and attest under the penalties of perjury as

follows:

1. I am the Director of Business Operations, US at Starbucks Corp. (“Starbucks”),
Defendant in this case. I was the Partner Resources Director for New York Metro at Starbucks
from October 2017 — June 2020. I submit this declaration in support of Defendant’s Motion for
Summary Judgment seeking to dismiss the Complaint of Plaintiffs Rafael Fox (“Fox”), Paul
D’Auria (“D’Auria”) and Jill Shwiner (“Shwiner”) (collectively, “Plaintiffs”). The facts and
circumstances set forth herein are based on my personal knowledge or on the books and records
of Starbucks.

2. Starbucks is an American chain of coffeehouses, with over 240 locations in New York
City.

3. Starbucks District and store managers are in the field on a regular basis and regularly
interact with customer-facing Starbucks’ personnel. District managers are in the stores on a daily
or weekly basis, and have the opportunity to coach other Starbucks employees with respect to
everyday issues.

4. Starbucks Regional Managers supervise district managers and are responsible for fiscal
performance of the stores in their region as well as ensuring Starbucks’ policies and procedures
are adhered to.

5. Each Starbucks store has a store manager, and most also have an assistant store
manager, who are responsible for adhering to Starbucks’ policies and procedures and for
supervising baristas.

The DCA Complaint Received by Plaintiff Fox

6. On or about January 10, 2018, Fox received a complaint from the New York City
Department Consumer Affairs (“DCA”) alleging violations of the Fair Workweek legislation at
the West Broadway and Leonard store (“Fox’s store”). A copy of the January 10, 2018 email
from Rafael Fox enclosing New York City Department of Consumer Affairs Notice of
Investigation is attached as Exhibit 1.

7. Fox sent a copy of the DCA complaint to Mr. Timothy Hutchinson who, in turn,
forwarded the complaint to Ms. Tina McDonald and Partner Resources Manager Bradley
Jennison. A copy of the January 10, 2018 email from Rafael Fox to Timothy Hutchinson is
attached as Exhibit 2, and a copy of the January 11, 2018 email from Timothy Hutchinson to
Tina McDonald is attached as Exhibit 3.

8. Ms. McDonald visited Fox’s store two to three times to investigate the DCA complaint.
A copy of Tina McDonald’s Notes re: Investigation of Rafael Fox’s Store, dated January 11, 20,
and 23, 2018, are attached as Exhibit 4.

Pursuant to 28 U.S.C. § 1746, I verify under penalty of perjury, under the laws of the
United States of America, that the foregoing is true and correct.

Executed January | a 2021

af) Ann
KL

Rachel Kelly
